Case 18-12095-BFK            Doc 142    Filed 12/04/18 Entered 12/04/18 16:32:52          Desc Main
                                       Document      Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

 In re:                                              *

 WW Contractors Inc.,                                *        Case No: 18-12095-BFK

                  Debtor.                            *        Chapter 11

 *        *       *      *       *       *           *        *       *      *       *      *


               LIMITED OBJECTION TO DEBTOR’S MOTION TO DISMISS CASE


          Meridian Law, LLC, former counsel to debtor and debtor-in-possession in the above-

 captioned case (the “Debtor”), hereby files this Limited Objection to Debtor’s Motion to Dismiss

 Case (the “Motion”), and in support thereof states as follows:

                                       THE CHAPTER 11 CASE

          1.      On June 12, 2018, the Debtor filed a voluntary petition for relief under Chapter 11

 of the United States Code in the United States Bankruptcy Court for the District of Maryland,

 Case No. 18-17927. On June 14, 2018, the Bankruptcy Case was transferred to the United States

 Bankruptcy Court for the Eastern District of Virginia and was assigned Case No. 18-12095 (the

 “Bankruptcy Case”).

          2.      Pursuant to an order entered on August 15, 2018, Meridian was approved as counsel

 to the Debtor, effective as of the Petition Date.

          3.      On or about November 1, 2018, the Debtor notified Meridian that the Debtor was

 replacing Meridian with Whiteford, Taylor & Preston, LLP as bankruptcy counsel.
Case 18-12095-BFK          Doc 142    Filed 12/04/18 Entered 12/04/18 16:32:52            Desc Main
                                     Document      Page 2 of 3




        4.      On November 16, 2018, the Debtor filed the Motion, wherein the Debtor is seeking

 dismissal of the Bankruptcy Case.

                                     LIMITED OBJECITON

        5.      Meridian does not object to the dismissal of the Bankruptcy Case. It does,

 however, object to the dismissal of the case without the entry of an order containing provisions

 regarding fees and expenses incurred by professionals retained in this Bankruptcy Case. (In

 addition to Meridian, the accounting firm of Rosen, Sapperstein & Friedlander, LLC was

 approved on August 15, 2018 as accountant to the Debtor, effective as of the Petition Date.)

 Meridian further objects to the dismissal of the Bankruptcy Case to the extent that the contemplated

 dismissal of the case is not conditioned on payment of duly approved fees and expenses of the

 Debtor’s professionals.

                                          CONCLUSION

        WHEREFORE, Meridian Law, LLC respectfully requests that this Honorable Court (a)

 condition the dismissal of the instant Bankruptcy Case on the entry of an order (i) setting forth

 provisions regarding fees and expenses incurred by professionals retained in this case; and (ii)

 directing the payment of duly approved fees and expenses of the Debtor’s professionals; and (b)

 grant such other and further relief as the Court deems just and proper.

                                               Respectfully submitted,

                                               /s/ Aryeh E. Stein
                                               Aryeh E. Stein, VA Bar No. 45895
                                               Meridian Law, LLC
                                               600 Reisterstown Road, Suite 700
                                               Baltimore, MD 21208
                                               (443) 326-6011
                                               astein@meridianlawfirm.com
                                               Former Counsel for Debtor


                                                  2
Case 18-12095-BFK       Doc 142     Filed 12/04/18 Entered 12/04/18 16:32:52          Desc Main
                                   Document      Page 3 of 3




                                CERTIFICATE OF SERVICE


        I hereby certify that on this 4th day of December, 2018, a copy of the foregoing Limited
 Objection to Debtor’s Motion to Dismiss Case were served electronically to the following parties
 on the Court’s CM/ECF notice list:

 Derek C Abbott - dabbott@mnat.com
 Robert K. Coulter - robert.coulter@usdoj.gov, USAVAE.ALX.ECF.BANK@usdoj.gov
 Richard Ashford DuBose - dubo@gebsmith.com
 John P. Fitzgerald, III - ustpregion04.ax.ecf@usdoj.gov
 Jack Frankel - jack.i.frankel@usdoj.gov, USTPRegion04.ax.ecf@usdoj.gov
 David William Gaffey - dgaffey@wtplaw.com, rodom@wtplaw.com
 Sara A. John - sara_john@eppspc.com
 Dinh H Ngo - bankruptcyva@mwc-law.com, bankruptcyva@ecf.inforuptcy.com
 John M. Stern - John.Stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 Jennifer Ellen Wuebker - jwuebker@wtplaw.com, rodom@wtplaw.com



                                             /s/ Aryeh E. Stein
                                             Aryeh E. Stein




                                                3
